Case 2:05-cr-20273-BBD Document 12 Filed 08/05/05 Page 1 of 2 Page|D 14

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FoR THE WESTERN DISTRJCT oF TENNESSEE

 

 

 

 

WESTERN DIVISION 05 AUG '5 PH 3: 19
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UNITED STATES OF AMERICA ` ` \-'.,,§/§_} 515 ~¢'~E;;Tr~,ggdqr
V. 05-20273-D
GENE LEACH
ORDER ON ARRAIGNMENT

This cause came to be heard on 4 §§ ,¢` § Z£Q § , the United States Attorney
for this district appeared on behalf of the gov ent, and the defendant appeared in person and with
counsel:
NAME L//?% 1 ft “‘j@!/ZW-/’l_/ who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended
The defendant, who is not in custody, may stand on his present bond. __M_n

a/'I`l§defendant, (not having made bond) (being a _sla.te~prisoner eigg»a'fe€eral prisoner)
(being held without bond pursuant to BRA of 1984), is remanded t ¢_ o 1 y of the U.S. Marshal.

 
  
 
   

/t/ l
UNITE’D STATE§ MAGISTRATE @`GE\/

CHARGES: 18:922 (g);

U. S. Attorney assigned to Case: E. Gilluly

Age: ¢ §/

This document entered en the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number l2 in
case 2:05-CR-20273 Was distributed by faX, mail, or direct printing on
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FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

